19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 1 of
                                        17



                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


  IN RE:                                       §   Chapter 7
                                               §
  LEGENDFARY FIELD EXHIBITIONS,                §   Case No. 19-50900-CAG
  LLC.                                         §
                                               §
  AAF PLAYERS, LLC;                            §   Case No. 19-50902-CAG
                                               §
  AAF PROPERTIES, LLC;                         §   Case No. 19-50903-CAG
                                               §
  EBERSOL SPORTS MEDIA GROUP,                  §
  INC.;                                        §   Case No. 19-50904-CAG
                                               §
  LFE 2, LLC;                                  §   Case No. 19-50905-CAG
                                               §
  WE ARE REALTIME, LLC                         §   Case No. 19-50906-CAG
                                               §
         DEBTORS,                              §
                                                   (SUBSTANTIVE CONSOLIDATION
                                                   OF ALL 6 CASES INTO ONE CASE,
                                                   LEGENDARY FIELD EXHIBITIONS,
                                                   LLC, CASE NO. 19-50900-CAG)
                                                   JOINTLY ADMINISTERED UNDER
                                                   CASE NO. 19-50900-CAG


           TRUSTEE’S MOTION TO COMPROMISE CONTROVERSY UNDER
             BANKRUPTCY RULE 9019 WITH F&F PRODUCTIONS, LLC


  THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
  INTERESTS.

  IF NO TIMELY RESPONSE IS FILED WITHIN TWNETY-ONE (21) DAYS FROM THE
  DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
  WITHOUT A HEARING BEING HELD.

  A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

         Randolph N. Osherow, chapter 7 trustee of the consolidated bankruptcy estate of

  Legendary Field Exhibitions, LLC (the “Trustee”), files this motion to compromise controversy
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 2 of
                                        17



  with F&F Productions, LLC (“F&F”) under Rule 9019 of the Federal Rules of Bankruptcy

  Procedure.

                                          Summary of Relief Requested

           1.        The Trustee seeks approval of a settlement reached with F&F. Under the proposed

  settlement, F&F will pay the Trustee the sum of $95,702.25 and the parties will exchange mutual

  releases. A complete description of the settlement is set forth below.

                                                 Background

           2.        On April 19, 2019, Legendary Field Exhibitions, LLC and certain related entities

  (the “Debtors”) filed their voluntary petitions for relief under Chapter 7, Title 11 of the United

  States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western

  District of Texas, San Antonio Division (the “Bankruptcy Court”), thereby commencing the

  bankruptcy cases1.

           3.        The Trustee is the duly appointed chapter 7 trustee in the case.

           4.        During the course of his investigation of the bankruptcy cases, the Trustee

  identified approximately $198,986.55 in payments received by F&F within 90 days of the Petition

  Date.

           5.        On November 10, 2021, Trustee sent a demand letter to F&F asserting that F&F

  had received certain payments from the Debtors that were avoidable under 11 U.S.C. § 547 of the

  Bankruptcy Code.

           6.        After the Trustee sent his preference demand, F&F provided the Trustee with

  documentation to the Trustee in support of its defenses. Specifically, F&F provided information


  1
   The substantively consolidated cases are In re Legendary Field Exhibitions, LLC, Case No. 19-50900; In re
  Ebersol Sports Media Group, Inc., Case No. 19-50904; In re AAF Players, LLC, Case No. 19-50902; In re AAF
  Properties, LLC, Case No. 19-50903; In re LFE2, LLC, Case No. 19-50905; and In re We are Realtime, LLC, Case
  No. 19-50906.


  Motion to Approve Compromise with F&F                                                            Page 2 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 3 of
                                        17



  that F&F had provided subsequent new value that would limit F&F’s alleged exposure to

  $127,603. This information and documentation precipitated a discussion of F&F’s true exposure

  in the case. After negotiation, the Trustee and F&F reached an agreement to resolve all claims and

  causes of action between them. Attached as Exhibit A is a copy of the Settlement Agreement

  between the Trustee and F&F.

                                      Proposed Settlement and Compromise

           7.        Subject to Bankruptcy Court approval, F&F and the Trustee have agreed to the

  following:

                    F&F will pay the sum of $95,702.25 in good and available funds to the Trustee (the
                     “Settlement Payment”) within 5 days of entry of an Order approving this agreement
                     (the “9019 Order”);

                    The Trustee and F&F will exchange mutual releases; and

                    F&F agrees that its proof of claim (Claim No. 135) will be withdrawn with
                     prejudice.

                                             Merits of Compromise

           8.        The merits of a proposed compromise should be judged under the criteria set forth

  in Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414

  (1968). TMT Trailer requires that a compromise must be “fair and equitable.” TMT Trailer, 390

  U.S. at 424; In re AWECO, Inc., 725 F.2d 293, 298 (5th Cir.), cert. denied, 469 U.S. 880 (1984).

  The terms “fair and equitable” mean that (i) senior interests are entitled to full priority over junior

  interests; and (ii) the settlement is reasonable in relation to the likely rewards of litigation. In re

  Cajun Electric Power Coop., 119 F.3d 349, 355 (5th Cir. 1997); In re Jackson Brewing Co., 624

  F.2d 599, 602 (5th Cir. 1980).

           9.        In determining whether a proposed compromise is fair and equitable, a Court should

  consider the following factors:



  Motion to Approve Compromise with F&F                                                      Page 3 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 4 of
                                        17



           (i)       the probabilities of ultimate success should the claim be litigated;

           (ii)      the complexity, expense, and likely duration of litigating the claim;

           (iii)     the difficulties of collecting a judgment rendered from such litigation; and,

           (iv)      all other factors relevant to a full and fair assessment of the wisdom of the
                     compromise.

  TMT Trailer, 390 U.S. at 424. The Trustee believes that the proposed settlement satisfies the

  requirements established by the Supreme Court in TMT Trailer.

                                          Analysis of Proposed Compromise

           10.       Probabilities of Ultimate Success. During their discussions, F&F and the Trustee

  analyzed the various strengths and weaknesses of the various claims and defenses present in the

  preference demand. The Trustee believes that he would prevail on a portion of his claim.

  However, the Trustee recognizes that F&F has raised significant defenses to the preference

  demand. F&F believes that a portion of the claim does not qualify as a preference and it has a

  complete defense under 11 U.S.C. § 547(c)(2) and (c)(4) that, if successful, would eliminate

  exposure. Accordingly, F&F believes that it has no to the Trustee. Both parties acknowledge that

  a certain degree of uncertainty always exists with respect to litigation. The Trustee believes that

  the proposed settlement and compromise fairly recognizes his anticipated recovery on the

  preference claims without continued litigation. The parties have attempted to achieve a resolution

  that minimizes the potential damage and risk to all parties, including the estate’s unsecured

  creditors.

           11.       After application of new value and ordinary course defenses that are likely

  available, F&F would be exposed to preference liability of $127,603.55 in preferential payments.

  The settlement payment of $95,702.25 represents approximately 75% of the amount that is likely




  Motion to Approve Compromise with F&F                                                       Page 4 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 5 of
                                        17



  recoverable. Consequently, the Trustee has determined that the proposed compromise is in the

  best interest of all concerned parties.

           12.       Complexity, Expense and Likely Duration. Should the Trustee bring an adversary

  proceeding that would be litigated to conclusion, the Trustee estimates that a trial would last 3 or

  4 hours. Briefing, discovery and preparation for trial would require several days of attorneys’

  time.    Counsel for the Trustee has been retained in this case on a contingency fee basis.

  Accordingly, the estate would not incur additional attorneys’ fees in connection with the litigation

  through trial.

           13.       Difficulties of Collection. If a judgment were rendered in an amount sought by the

  Trustee, the Trustee believes that he would be able to recover from F&F.

           14.       Other Factors. The Trustee believes that the proposed compromise is equitable and

  in the best interest of the estate. The parties avoid the time and expense of litigation, the estate

  receives cash for distribution to creditors and significant claims are withdrawn.

           Accordingly, the Trustee requests that this Court approve the proposed settlement and

  compromise set forth above and for such other relief as is just.




  Motion to Approve Compromise with F&F                                                    Page 5 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 6 of
                                        17



           Dated: February 4, 2021.
                                          Respectfully submitted,


                                          McCLOSKEY ROBERSON WOOLLEY, PLLC


                                          By: /s/ Thomas A. Woolley, III
                                             Timothy M. McCloskey
                                             SBOT: 13417650
                                             tmccloskey@mccloskeypllc.com
                                             Thomas A. Woolley, III
                                             SBOT: 24042193
                                             rwoolley@mccloskeypllc.com
                                             945 Heights Blvd.
                                             Houston, TX 77008
                                             713-868-5581
                                             713-868-1275 (fax)

                                          Special Counsel for Randolph N. Osherow, chapter 7
                                          trustee for the estate of Legendary Field Exhibitions,
                                          LLC

                                          Special Counsel for Randolph N. Osherow, chapter 7
                                          trustee for the estate of Legendary Field Exhibitions,
                                          LLC

                                          BARRETT DAFFIN FRAPPIER TURNER &
                                          ENGEL, LLP
                                          580 La Ventana Blvd.
                                          Driftwood, TX 78619
                                          (512) 687-2503
                                          brianen@bdfgroup.com

                                          General Counsel for Randolph N. Osherow, chapter 7
                                          trustee for the estate of Legendary Field Exhibitions,
                                          LLC




  Motion to Approve Compromise with F&F                                               Page 6 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 7 of
                                        17



                                          Certificate of Service

          I hereby certify that a true and correct copy of the foregoing instrument was duly served
  by United States first class mail, with proper postage affixed to all parties listed on the attached
  Service List and by electronic transmission to all registered ECF users appearing in the case on
  this 5th of February 2021.


                                                               /s/ Brian S. Engel
                                                        Brian S. Engel




  Motion to Approve Compromise with F&F                                                   Page 7 of 7
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 8 of
                                        17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 9 of
                                        17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 10
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 11
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 12
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 13
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 14
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 15
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 16
                                      of 17
19-50900-cag Doc#291 Filed 02/04/21 Entered 02/04/21 15:17:43 Main Document Pg 17
                                      of 17
